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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                  CASE NO: 2:15-cr-45-FtM-38MRM

JERMAINE LEWIS, JR.



                                         ORDER

       This matter comes before the Court on the Defendant’s Motion to Appoint

Investigator and Exceed Initial Investigative Fee Cap of $2,400.00 (Doc. #104) filed on

July 28, 2015.    Defense Counsel moves the Court for permission to appoint an

investigator and to exceed the initial investigative fee cap of $2,400.00 as payment for

the investigator’s services. As grounds, Counsel indicates that discovery consists of five

(5) DVDs containing in excess of 2,100 pages of documents, 2.3 hours of video clippings

from cell phones, Excel worksheets with text messages from cellular phones and 970

images including photographs.        Counsel seeks to retain the services of Doral

Investigations to assist counsel in the review of discovery and in the preparation of this

case. Doral Investigations charges $40.00 per hour. Counsel expects to exceed the cap

of $2,400.00 by an additional $5,100.00, for a total of $7,500.00.

       Upon review, pursuant to 18 U.S.C. § 3006(A)(e)(3), the Court will grant the Motion

up to the maximum amount1 of $2,400, and the rest will be paid contingent upon and



   1   Pursuant to Guide to Judicial Policy, Vol. 7A, § 310.20.10(a)-(e), with prior
       authorization, compensation for investigative, expert, and other services is
       limited to $2,400.00. §310.20.20 provides that payment in excess of the
       $2,400.00 may be made when certified by the District Court and approved by
       the Chief Judge of the Circuit.
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pending authorization from the Eleventh Circuit Court of Appeals.     Upon receiving

confirmation of approval from the Court, counsel shall forward a completed CJA 21 form

to the CJA Deputy Clerk in the Orlando Division with a copy of the Memorandum

confirming authorization.

       Accordingly, it is now

      ORDERED:

      Defendant’s Motion to Appoint Investigator and Exceed Initial Investigative Fee

Cap of $2,400.00 (Doc. #104) is GRANTED and the additional amount requested remains

pending authorization from the Eleventh Circuit Court of Appeals.

      DONE AND ORDERED at Fort Myers, Florida, this 30th day of July, 2015.




Copies: Counsel of Record




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